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                             U NITED STA TES DISTRIC T C O U R T
                             SO U TH ER N DISTR ICT O F FLO R IDA

                                   C ase N o.18-cr-20522-CM A

  U M TED STA TE S O F AM E R IC A

  VS.

  BIW AN DENEUM OSTIER,
                  D efendant.
                                                              /

                                      PLEA A G REEM E NT

         TheUnitedStatesAttorney'sQfficefortheSouthem DistlictofFloridaandtheComputer
  CrimeandIntellecmalProperty Section oftheDepartmentofJusticeCdtheProsecuting Offices'')
  andBryanDenellmostier(IGdefendant'')enterintothefollowingagreement:
             The defendantagreesto plead guilty to cotmts oneand two ofthe indictm ent,which

  countschargethathe did usean electrolzic device,including an A pple iphone and ipad,to intercept

  any oralcom m unication,when defendantlcnew thatsuch device had been m ailed in interstate and

  foreigncommerce,:
                  lnviolationofTitle18,UnitedStates,Code,Sections2511(1)(b)(iii)and2.
              )
             The Prosecuting Offices agree to seek dismissalof counts three,four,and five ofthe

  indictm ent,as to tllis defendant,aAer sentencing.

             Thedefendantisaw arethatthesentence w illbe im posed bythe Courtafterconsidering

  the advisory FederalSentencing Guidelines and Policy Statements(ttsentencing Guidelines'').
  The defendantacu ow ledges and understands thatthe Courtwillcom pute an advisory sentence

  tm derthe Sentencing Guidelinesand thatthe applicable gtlidelinesw illbe determ ined bythe Court

  relying in parton the results ofa pre-sentence investigation by the Court'sprobation oftk e,which

  investigation w illcom m ence afterthe guilty plea has been entered. The defendantis also aw are
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  that,tmdercertain circumstances,the Courtmay departf'
                                                      rom the advisory sentencing guideline

  range that ithas com puted,and m ay raise or low er thatadvisory sentence tm derthe Sentencing

  Guidelines. The defendantisfurtheraw are and understandsthatthe Courtisrequired to consider

  the advisory guideline range determ ined under the Sentencing Guidelines,but is not bound to

  im pose a sentence w ithin thatadvisory range;the Courtisperm itted to tailorthe ultim ate sentence

  in light of other statutory concem s,and such sentence m ay be either m ore severe or less severe

  than the Sentencing Guidelines'advisot'y range. K now ing these facts,the defendantunderstands

  and acknowledgesthatthe Cotu'thasthe authority to impose any sentence witllin and up to the

  statutory m axim um autholized by law for the offenses identified in paragraph 1 and that the

  defendantm ay notwithdraw thepleasolely asaresultofthesentence imposed.

         4. The defendantalso understandsand acknow ledges thatas to countone the Courtm ay

  imposeastatutorymaximl'm term ofimprisonmentofup to five(5)years,followedbyatelnn of
  supervisedreleaseofuptothree(3)years. Inaddition,astocounttwotheCourtmayalsoimpose
  a statutory rnaxinlunlternlofimprisonm ent ofup to five (5) years,followed by a tenu of
  supervised release of up to three (3) years. These sentences of impdsonment may nm
  consecutively,for a totalsentence often (10)yearsimprisonment. In addition to a term of
  imprisonm entand supervised release,theCourtm ayimposeafineofup to $250,000.00 asto each
  cotm tofconviction and m ay orderrestitm ion.

         5. The defendantfurtherunderstands and acknow ledgesthat,in addition to any sentence

  im posed under paragraph 4 of this agreem ent, a special assessm ent in the am olm t of

  $100astoeachcount,foratotalof$200,willbeimposedonthebefendant. Thedefendantagrees
  that any special assessm ent im posed shallbe paid atthe tim e of sentencing. If a defendant is

  financially unable to pay the specialassessm ent,the defendantagrees to presentevidence to the
                                                  2
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  Prosecuting Officesand theCourtatthetim eofsentencing asto thereasonsforthe defendant's

  failure to pay.

         6. The Prosecuting Officesreserve the dghtto inform the Courtand theprobation office

  of a11factspertinentto the sentencing process,including a11relevantinform ation concerning the

  offenses com m itted, whether charged or not, as w ell as concerning the defendant and the

  defendant'sbackground. Subject only to the express terms of any agreed-upon sentencing
  recom m endationscontained in this agreem ent,the Prosecuting O ftk esfurtherreserve the rightto

  m akeanyrecomm endation astothequality and quantity ofplnishm ent.

                The Prosecuting O ffices agree that they w ill recom m end at sentencing that the

  Courtreduce by two levels the sentencing guideline level applicable to the defendant's offense,

  pursuanttoSection 3E1.1(a)oftheSentencingGuidelines,baseduponthedefendant'srecognition
  and affirmative and tim ely acceptance ofpersonalresponsibility.Ifatthetim e ofsentencing the

  defendant's offense level is determ ined to be 16 or greater,the Prosecuting O ffices will file a

  motionrequestinganadditionaloneleveldecreaseptlrsuanttoSection3E1.1(b)oftheSentencing
  Guidelines,statingthatthedefendanthasassisted authodtiesin theinvestigation orprosecution of

  the defendant's ow n m isconduct by tim ely notifying authodties of the defendant's intention to

  enterapleaofguilty,therebypermittingthegovernm entto avoidpreparingfortrialandpeM itting

  the governm ent and the Courtto allocate their resources efficiently. The Prosecuting Offices,

  however,willnotberequiredtomakethismotion andthisrecommendationifthedefendant:(1)
  fails or refuses to m ake a 1 11,accurate and com plete disclosure to the probation office of the

  circtlmstancessurroundingtherelevantoffenseconduct;(2)isfoundtohavemisrepresentedfacts
                                                                1
  tothegovernmentpriortoenteringintothispleaagreement;or(3)commitsanymisconductaRer
  entering into thisplea agreem ent,includingbutnotlim ited to com m itting a state orfederaloffense,
                                                  3
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  violating any term of release, or m aking false statem ents or m isrepresentations to any

  governm entalentity orofficial.

         8.     The Prosecuting Oftk esand the defendantagreethat,although notbinding on the

  probation office orthe Court,they willjointly recommend thatthe Courtmakethe following
  findingsand conclusionsasto the sentence to be im posed:

         (a). OffenseastoVictim 4:AlthoughnotchargedintheIndictment,pursuanttoU.S.S.G.
  j1B1.2(c),thepartiesagreethatDefendantisguiltyofusingan electrorlicdevicetointerceptany
  oralcom m unication as to V ictim 4 on A ugust 10,2016 w ithoutV ictim 4'sknow ledge or consent,

  when the D efendantknew that such device had been sentthrough the m ail and transported in

  interstate commerce,in violation of 18 U.S.C.jj2511(1)(b)(iii)and 2,and thatsuch offense
  conductw illbe included as if establishing the com m ission of an additional offense and shallbe

  treated as if the D efendant had been convicted of the additional count charging the offense.

  A ccordingly,the D efendant's applicable offense levelw illincrease by three levels,pursuant to

  U.S.S.G.j3D1.4.
         9. The defendant is aw are thatthe sentence has notyet been determ ined by the Court.

  The defendantalso isaw are thatany estim ate ofthe probable sentencing range orsentence thatthe

  defendantm ayreceive,w hetherthatestim atecom esfrom the defendant'sattorney,the Prosecuting

  O ffices,orthe probation office,isaprediction,notaprom ise,and isnotbinding on the Prosecuting

  O ffices, the probation office or the Court. The defendant understands further that any

  recom m endation thatthe Prosecuting Officesm ake to the Courtasto sentencing,whetherpursuant

  to this agreem ent or otherwise, is not binding on the Cottrt and the Courtm ay disregard the

  recom m endation in its entirety. The defendant tm derstands and acknow ledges,as previously

  acknow ledged in paragraph 3 above,thatthe defendantm ay notw ithdraw hisplea based upon the
                                                 4
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  Colzrt's dzcision not to accept a sentencing recomm endation m ade by the defendant, the

  Prosecuting Offices,ora recommendation madejointly by the defendantand the Prosecuting
  Offices.

         10.     The defendant also agrees to assist the Prosecuting Oftices in a11 proceedings,

  whetheradministrativeorjudicial,involvingtheforfeimretotheUzlited Statesofa11rights,title,
  and interest,regardless oftheirnature or form ,in a11assets,including realand personalproperty,

  cash and other m onetary instrum ents, wherever located, which the defendant or others to the

  defendant's knowledge have accum ulated as a result of illegal activities. Such assistance w ill

  involvethedefendant'sagreementtotheentryofan orderenjoiningthetransferorencumbrance
  ofassetsthatmaybeidentified asbeingsubjectto forfeiture. Additionally,defendantagreesto
  identifyasbeingsubjecttoforfeiturea11suchassets,andto assistinthet'
                                                                    ransferofsuchproperty
  to the United Statesby delivery to the Prosecuting Ofticesupon the Prosecuting O ffices'request,

  all necessary and appropriate docum entation w ith respect to said assets, including consents to

  forfeiture, quit claim deeds and any and al1 other docum ents necesséry to deliver good and
                       J
  m arketabletitle to sald property.

                 The defendantfurther agreej'thathe w illm ake his besteffortto rem ove from the

  intem etany and a1lim ages,including videos and photographs,concem ing the victim s referenced

  in the Indictm ent.Forany im age oraccountthatthedefendanthascreated and thatcontainsim ages

  depictingthevictim,the defendant(a)hereby forfeitsany rightsorinterestin theaccountsand
  associated filesandimages,(b)hereby assigns,transfers,and grantsal1ofllisrightsofcopyzight
  in and to thevideosandphotographs, w orldw ide,includingbutnotlim ited to a1lrightsofcopyright
                                                                                             %

  underthelawsoftheUrlitedStates,asdirectedbytheUnitedStatesAttorney'sOffice;and(c)will
  m ake llisbesteffortsthrough llis attorney to delete orotherwise rem ove any website oronline
                                                 5
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  accounttmdertheDefendant'scontrolthatfeamresimagesorvideosobtainedwithoutthesubjects'
  consent.

          12. D efendantrecognizes thatpleading guilty m ay have consequencesw ith respectto

  the defendant's im m igration status if the defendant is not a natural-born citizen of the United

  States. U nderfederallaw ,a broad range ofcrim esare rem ovable offenses,including the offense

  to w hich defendantispleading guilty. In addition,under certain circtlm stances,denaturalization

  m ay also bea consequence ofpleading guilty to a cdm e. Rem oval,dqnaturalization,and other

  immigration consequences are the subjectofa separate proceeding,however,and defendant
  understandsthatno one,including the defendant'sattorney orthe Court,can predictto a certainty

  the effect of the defendant's conviction on the defendant's im m ip ation stattls. D efendant

  nevertheless aftirm s that the defendant w ants to plead guilty regardless of any im m igration

  consequences that the defendant's plea m ay entail, even if the consequence is the defendant's

  denaturalization and autom atic rem ovalfrom the U nited States.
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             Thisistheentire agreementand understanding between the Prosecuting Oftkesand

  the defendant. There are no otheragreem ents,prom ises,representations,orunderstandings.

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